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                              IN THE UNITED STATES DISTRICT COURT
                               FOR EASTERN DISTRICT OF ARKANSAS                 FILED
                                                                             U S DISTRlCT COURT
                                                                         EASTERN DISTRICT ARKANSAS
     JENNIFER LANCASTER, DAVE ELSWICK, JIMMIE
     CAVIN, STEPHANIE DUKE, JAN MORSE, JEFF MORSE,                                     6 2024
     KIM BOURGEOIS, MARK BOURGEOIS, RANDY SAMS,
     MARLA SAMS, CODIE CRUMPTON, ANGELA ROSS,
     CAROL TESSIER, KELLY McElhaney, IRA (EUGENE)                                               DEPCLERK
     JAMISON, COTY POWERS, TERRY KELLUM, KEITH
     KELLUM, DR. ANITA WELLS, KANDI COX, LINDA
     MARSH, SAM MARSH, AND ALFORD DRINKWATER

                                                                                 PLAINTIFFS


     JOHN THURSTON, IN HIS OFFICIAL CAPACITY AS
     SECRETARY OF STATE AND AS CHAIRMAN OF STATE
     BOARD OF ELECTION COMMISSIONERS, and JOSEPH
     WOOD, CHAIRMAN OF THE RPA
                                                                                DEFENDANTS


    COMPLAINT FOR CIVIL RIGHTS VIOLATIONS, A DECLARATORY JUDGMENT,
       MOTION FOR WRIT OF MANDAMUS, AND MOTION FOR INJUNCTION

            COMES NOW, the Plaintiffs, by and through counsel, Luther Sutter and Lucien Gillham,

    of SUTTER & GILLHAM, P.L.L.C.; and, for this Complaint, they state:

                                                  PARTIES

             1.     Plaintiffs, JENNIFER LANCASTER, DAV~ ELSWICK, JIMMIE CAVIN,

    STEPHANIE DUKE, JAN MORSE, JEFF MORSE, KIM BOURGEOIS, MARK

    BOURGEOIS, RANDY SAMS, MARLA SAMS, CODIE CRUMPTON, ANGELA ROSS,

    CAROL TESSIER, KELLY McElhaney, IRA (EUGENE) JAMISON, COTY POWERS,

    TERRY KELLUM, KEITH KELLUM, DR. ANITA WELLS, KANDI COX, LINDA

    MARSH, SAM MARSH, and ALFORD DRINKWATER are duly elected delegates to the

    This case assigned to D i Is t r ~ ·        ~
    and to Magistrate Judge_..._"""'!_.---,--....,.~-_..,.
                                                                                    LLF NO.: 03400
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Republican Party of Arkansas State Convention that occurred on June 8, 2024. Plaintiffs are

residents of Arkansas.

       2.        That Jennifer Lancaster is the duly elected and acting Chair of the 2024 Republican

Party of Arkansas's State Convention. Separate Defendant, Joseph Wood, is Chairman of the RPA.

A copy of the RPA rules in existence before July of2024 are attached hereto as Exhibit "A."

       3.        That Separate Defendant, John Thurston, is the duly elected Secretary of the State

of Arkansas and Chairman of the State Board of Election Commissioners. He is sued in his official

capacity for Declaratory and Injunctive only, as permitted by Ex Parte Hill.

                                          JURISDICTION

       4.        This case involves Federal elections for President and both Houses of Congress. It

is an issue of elective franchise as to the election of Federal candidates and Article 1, § 4, Clause

1 (The Times, Places, and Manner Clause). Jurisdiction is proper in this Court pursuant to 28

u.s.c. § 1343.
       5.        This case involves the right to free speech and assembly in the franchise of elections

and the election process, which are essential Federal questions. Jurisdiction in this Court is proper

pursuant to 28 U.S.C. § 1331.

       6.        This case alleges the deprivation of civil rights guaranteed by the Arkansas

Constitution and the First Amendment to United States Constitution, as well as to fully participate

in the franchise of elections, as required by the 14th Amendment Due Process Clause. Such action

is an action which arises under the Constitution and the laws of the United States. Jurisdiction is

proper in this Court pursuant to 28 U.S.C. § 1331 and 1343.




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                                             FACTS

       7.      The Republican Party of Arkansas (hereinafter "RPA") is a political party as

defined by Ark. Code Ann.§§ 7-3-101-108.

       8.      That political parties are required pursuant to Ark. Code. Ann.§ 7-3-107 to hold a

State Convention following the biennial general primary.

       9.       The Plaintiffs were duly elected State Convention delegates to the RPA's biennial

State Convention.

        10.     The Plaintiffs attended and participated in the RPA's State Convention on June 8,

2024, in Rogers, Arkansas.

        11.     The Plaintiffs were a part of the overwhelming majority of State Convention

delegates who voted in favor of closing the Republican primaries to only registered Republicans

as they are authorized to do pursuant to Ark. Code Ann.§ 7-3-107(2).

        12.     The Plaintiffs were a part of an overwhelming majority of State Convention

delegates who voted in favor of requiring candidates who wish to run as a Republican to first be a

registered Republican.

        13.     That the RPA refused to acknowledge the Convention and its proceedings in

violation of the party's rules, instead choosing to pretend as though it never happened.

        14.     That the RPA was sent the 2024-2026 Republican Party of Arkansas Rules and

Platform as adopted at the State Convention on June 8, 2024, within two (2) weeks of the

Convention.

        15.     That the Chairman of the RPA, Defendant Wood, refused to acknowledge the

newly adopted Rules or Platform and refused to respond to the Convention Chairman's multiple

emails, texts, and calls.



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       16.     That, after the Convention, Belinda Harris Ritter, as the appointed Chair of the

Republican Party's Rules Committee, drafted an "advisory opinion." Plaintiffs seek Declaratory

Judgment that she did not have the authority to issue an advisory opinion, or to nullify anything

done by the convention body because the" convention is the final authority in all party matters ...."

       17.     That the RP A's rules do not grant any person or committee the authority to issue

an "advisory opinion."

       18.     That a special meeting was called, and a vote taken by the approximately twenty-

four (24) members of the Republican Party's State Executive Committee to "nullify" the motions

passed by the convention body that were not previously approved and recommended by the Rules

and Platform Committee in violation of the RPA rules.

        19.    There were eighteen (18) members of the State Executive committee, largely

appointees and government officials, voted to nullify the will of the more than 600 state delegates

who attended the State Convention.

       20.     That, in violation of the party rules, the State Executive Committee voted to nullify

the convention body's decision to close the primaries, to require a candidate to be registered as a

Republican before filing to run for office as a Republican, and to remove the automatic voting

status of elected officials on the RP A's State Committee.

       21.     That the State Executive Committee of the RPA did not and does not have the

authority to nullify or change anything done by the RPA's State Convention body because

according to the RP A rules, Article I, Sec 1 Sub. B, "The final authority in all party matters shall

rest in the biennial Republican State Convention ... " (emphasis added)

       22.     That the State Executive Committee has engaged in election interference of its own

convention delegates.



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         23.   That under Ark. Code Ann.§ 7-3-101, "[o]rganized political parties shall prescribe

the qualifications for voting in their party primaries."

         24.   That the Chair of the Republican Party, after pretending for almost seven (7) weeks

that the 2024 State Convention never occurred, within an hour of the State Executive Committee's

vote, sent out an email to party members informing them of the State Committee's vote to "nullify"

the Convention's decisions.

         25.   That, on the same evening, the RPA Chair sent out an email to the elected officials

informing them that following the State Executive Committee's vote earlier that day, they have

automatic voting authority on the state committee.

         26.   That the election for a new RPA Executive Board occurs December 2024; and, it is

widely believed that new leadership will be elected without the elected officials' votes.

         27.   That, on that same day, the 2024 Rules and Platform, as approved by the State

Executive Committee, was published.

         28.    That the voting make-up of the State Committee is affected by the rules change

because the change removes elected state office holders from voting on that Committee.

         29.    That the Secretary of State, Defendant John Thurston, and the State Board of

Election Commissioners has not closed the Republican Primaries or otherwise complied with the

changes that were legally implemented by the Convention.

                            Count I: DECLARATORY JUDGMENT

         30.    That Plaintiffs incorporate herein by reference, all previous allegations into this

count.

         31.    That this Court should construe the following actions, events, or documents and

declare:



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A.       The Arkansas and United States Constitution;

B.       Arkansas law regarding political parties and their ability to close primaries to
         nonparty members;

C.       The rules of the RP A;

D.       The actions of the 2024 RPA State Convention;

E.       The rules and items passed by the 2024 RP A State Convention; and,

F.       The actions of the State Executive Committee.

32.      That this court should declare the rights of the parties in that:

A.       The United States Constitution grants rights to freedom of speech and association
         and this extends to political parties;

B.       Political parties may regulate and control their membership to include politically
         like-minded individuals;

C.       Members of political parties have the right to associate with others who share their
         values or beliefs;

D.       Members of political parties have the right or ability to control who they nominate
         for a political office as its representative or candidate;

E.       Members of political parties have the right or ability to control who votes in their
         pnmanes;

F.       The RPA is a duly formed and operating political party under Arkansas law;

G.       Pursuant to state and federal law, the RPA has the authority to close its primaries;

H.       Pursuant to the rules of the RP A, the 2024 State Convention had the ability to hear
         motions to change the party's rules;

I.       The actions of the 2024 State Convention were a proper change of RP A rules to
         close the primaries;

J.       The actions of the 2024 State Convention in removing the vote of ex-officio
         members of the State Committee was a proper exercise of its power under the RP A
         rules;

K.       The actions of the defendants in failing to close the primaries violates Arkansas
         law;


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       L.       The actions of the defendants in failing to close the primaries violates the plaintiffs'
                rights to freedom of speech;

       M.       The actions of the defendants in failing to close the primaries violates the plaintiffs'
                rights to freedom of association;

       N.       The actions of the defendants in failing to adopt, recognize, publish or adhere to the
                rules changes approved by the Convention violates state and federal law;

       0.       The actions of the defendants in failing to adopt, recognize, publish or adhere to the
                rules changes approved by the Convention violates the plaintiffs' rights to freedom
                of speech; and,

       P.       The actions of the defendants in failing to adopt, recognize, publish or adhere to the
                rules changes approved by the Convention violates the plaintiffs' rights to freedom
                of association;

                         Count II: DEPRIVATION OF CIVIL RIGHTS

       33.      That Plaintiffs incorporate herein by reference, all previous allegations into this

 count.

          34.   That the Plaintiffs bring this cause of action pursuant to 42 U.S.C § 1983 and the

 Arkansas Civil Rights of 1993.

          35.   That Defendant, John Thurston, is the Secretary of State and the Chair of the SBEC.

 He is a policy maker with final authority on the administration of elections in Arkansas.

          36.   That the SBEC is a State Board that also has final policymaking authority on

election administration, policies, and practices.

          37.   That the herein named Defendants have either an express policy or a widespread

practice they have approved and implemented that causes an unconstitutional deprivation-

violations of the Plaintiffs' state and federal right to Due Process, Free Speech, Assemble, and

fully participate in elections and associate with other citizens.




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         38.   That this policy, custom, usage, or practice is failing to recognize that the RPA has

closed its primaries to nonparty members and failing to take action to effectuate the changed status

of conducting closed primaries.

         39.   That this policy, custom, usage, or practice is failing to recognize that the RP A has

new party rules and accepting the new rules as required by Arkansas law.

         40.   That Plaintiffs have been damaged because their constitutional rights to free speech,

assembly, and to fully participate in the franchise of elections are infringed.

         41.   That the defendants should pay these damages.

                                       Count III: INJUNCTION

         42.   That Plaintiffs incorporate herein by reference, all previous allegations into this

count.

         43.   That this court should enjoin the defendants from violating the rights of the

plaintiffs.

         44.   That this court should order that the defendants may not fail to take immediate

action to close the RP A's primaries and adopt, promulgate, and adhere to the rules changes.

                                         Count IV: MANDAMUS

         45.   That Plaintiffs incorporate herein by reference, all previous allegations into this

count.

         46.   That Mandamus is an appropriate remedy when a public officer is called upon to

do a plain and specific duty, which is required by law, and which requires no exercise of discretion

or official judgment.

         47.   That the Defendants are clearly obligated to comply with Federal and State law,

including Supreme Court precedent.



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        48.    That this Court should issue an Order compelling the Defendants to comply with

the law by closing the Republican Party's primaries.

        49.    That this Court should issue an order compelling the Defendants to comply with

the law by adopting or otherwise accepting the rules and platform changes adopted on June 8,

2024.

                              Demand for Jury Trial and Attorney's Fees

        50.    Plaintiffs demand a trial by jury on all issues so triable.

        WHEREFORE, Plaintiffs pray this Honorable Court enter a declaratory judgment in their

favor as requested above; enjoin the Defendants from violating their rights and the law; that this

Court should issue an order compelling the Defendants to comply with the law by closing the

Republican Party's primaries; that this Court should issue an order compelling the Defendants to

comply with the law by adopting or otherwise accepting the rules and platform changes adopted

on June 8, 2024. for attorneys' fees and costs; and for all other just and proper relief.

                                               Respectfully submitted,

                                               SUTTER & GILLHAM, P.L.L.C.
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                    - - - - PARTY of ARKANSAS


                          ~

    Republican Party of Arkansas

                          Rules

                         Edition 20190608




             Amended at State Committee Meeting
                         June 8, 2019
                   Little Rock, Arkansas




                     Doyle Webb, Chairman



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     Rules Committee of the Republican Party of Arkansas

                      Duane Neal, Chairman
                        Dorothy Crockett
                          Bobbi Dodge
                         Chase Dugger
                          Kevin Jumper
                         Tom Lundstrum
                         Andy Mayberry
                          Benny Speaks
                          George Ritter
                          John Nabholz
                           Kermit Parks
                           Tony Todaro
                           Larry Bailey




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                                          PREAMBLE
Declaration

The express purpose of these rules is to provide for the free and unhampered right of the
individual electors of Arkansas to participate in the nominations of their choice.

Party Objectives

   •     The Republican Party of Arkansas declares its objectives to be:

            o   The election of qualified Republican candidates to every public office, and

            o   The fulfillment of the needs of the citizens of Arkansas in a manner consistent
                with the beliefs and principles of the Republican Party.

Party Principles

Republicans believe:

   •     That individual citizens are willing and capable of managing their own affairs without
         government intervention.

   •     That the local, state and national governments must pursue policies designed to
         encourage individual initiative and induce people to be responsible for their own
         economic, political, and social well-being.

   •     The primary function of government is to protect the life, common liberty and property of
         the governed, to prevent fraud, and to provide a common justice.

   •     That when a necessary function is undertaken by government, it should be performed by
         that government closest to the people to provide as much direct control by those affected
         as possible, and to assure freedom and liberty to all citizens with justice under the law.

    •    That our freedom, national stability and expansion of the free enterprise system can be
         best assured by application of the Constitutional principles that unite the American
         people.




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                     ARTICLE I - GENERAL PROVISIONS

Sections

   1. Party Membership and Authority
   2. Party Organization
   3. Finance
   4. Candidates for Public Office
   5. Primary Elections
   6. State Convention
   7. Delegates to National Convention
   8. Parliamentary Procedure
   9. Proxies
   10. Election of Electors

Section 1 - Party Membership and Authority

   A. Membership in the Republican Party of Arkansas shall be open to all qualified Arkansas
      electors as defined in A.C.A. Section 7-1-101 (2016) Definitions (33). No oath, pledge, or
      statement of belief shall ever be required as a condition.

   B. The final authority in all party matters shall rest in the biennial Republican State
      Convention, which shall be deemed to have delegated such interim authority to the State
      Committee and Executive Committee as is necessary to carry out the purposes and
      objectives of the party.

Section 2 - Party Organization

The organization of the Republican Party of Arkansas shall consist of the following bodies:

   The State Convention

   The State Committee and subordinate committees.

   The State Executive Committee.

   The Congressional District Committees

   The Republican County Committees and such other subordinate committees as the rules of
   a County Committee may provide.

Section 3 - Finance

   A. The State Finance Committee shall include the Finance Chairman, the Treasurer, the
      Assistant Treasurer, the National Committeeman, the National Committeewoman, the
      State Chairman, the State 1st Vice-Chairman, and additional members the State
      Chairman shall appoint. The Finance Committee shall be responsible for developing and
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   implementing an annual fund-raising program to provide funding for the annual budget.
   Subcommittees of the State Finance Committee for fund-raising shall be chaired by the
   appointees of the State Chairman.

B. The State Budget Committee shall include the State 1st Vice Chairman, who shall serve
   as the Committee Chairman, the State Chairman, the Treasurer, the State 2nd Vice
   Chairman, the State Finance Chairman, and four (4) additional members appointed by
   the State Chairman, one (1) member from each Congressional District. All members
   shall be voting members.

       1. The Budget Committee shall meet no later than October 1 of each year for the
          preparation of the annual operating budget to be submitted to the State
          Committee members with the call for the December State Committee meeting.
          The budget shall be presented for approval at the December Meeting of the State
          Committee.

       2. The budget shall be the basic planning document for the Party for the next
          calendar year, which shall be the fiscal year, and shall include estimates of
          income amounts and sources, estimated costs of fund-raising activities and
          proposed expenditures, subdivided into appropriate categories, including the
          proposed amount to be allocated for candidates. The Budget Committee shall
          assure that the budget is prepared and that the information included in the budget
          is complete, setting forth all estimated revenues and expenditures of the State
          Party. The budget will project revenues and expenditures by time period and will
          include projected cash flow to assure that revenue will be adequate to cover
          budgeted items.

       3. The Budget Committee will have continuing general oversight authority and shall
          meet quarterly to review the status of the approved budget to ensure that actual
          or anticipated expenditures do not exceed actual or anticipated revenues,
          including reserves. After adoption of the annual budget by the State Committee,
          supplemental budget requests for any budget item that will exceed the budgeted
          amount by five percent (5%), shall be prepared by the Budget Committee and
          submitted to the Executive Committee for approval. The Treasurer's financial
          report at each Executive Committee meeting and State Committee meeting shall
          include total receipts and total disbursements, by time period, and any revisions to
          the approved budget

       4. The Budget Committee shall also perform other duties as the State Committee or
          the Executive Committee may assign.

C. The State Audit Committee shall consist of the State 2nd Vice Chairman, who shall serve
   as Committee Chair, the State Treasurer and one (1) member, appointed by the State
   Chairman, from each of the Congressional Districts.

       1. The Audit Committee shall establish an appropriate system of financial controls,
          monitor the effectiveness of such controls, select an accounting firm to conduct an

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          annual independent review of the Party's financial records, select an accounting
          firm to conduct a biennial "FEC" audit of the Party's financial records, supervise
          the conduct of the review/audit, and report to the Executive Committee and the
          State Committee on compliance with the established financial controls and
          practices and these rules, the results of the review/audit and compliance with any
          policy and procedures established by this Committee. The Audit Committee shall
          report to the State Committee the actions of any officer, employee, or agent of the
          State Committee that, in its opinion, are in violation of these controls and
          practices, rules or the policies and procedures established by the committee.

       2. The committee shall also perform other duties as the State Committee or the
          Executive Committee may assign.

D. Expenditure Controls:

       1. The Executive Committee shall have the authority to adopt prudent and
          reasonable controls, policies and procedures for the establishment, approval and
          expenditure of all special funds and bank accounts of the State Party in
          compliance with applicable laws and these rules.

       2. The Executive Committee shall require two signers for checks issued on all bank
          accounts of the State Party. These provisions extend to any account that bears
          the State Party's Federal ID number or requires that the State Party assume any
          liability or fiduciary responsibility (hereinafter "bank account(s)"). Use of a
          mechanical signature (digital, stamped, etc.) on any check, bank document, tax
          document or FEC report is prohibited. The State Chairman and State Treasurer
          shall be authorized as signatories on all bank accounts. The Executive Committee
          may authorize the Executive Director to (a) be a signatory on all bank accounts of
          the State Party and (b) to supervise and control expenditures from the bank
          accounts of the State Party. All signatories on any State Party bank account shall
          keep in force and effect a fifty thousand dollar ($50,000) Surety Bond. The cost of
          said bond shall be paid by the State Party. Any person not bendable is
          immediately disqualified as an account signatory.

       3. There shall be no disbursement of State Party funds except in accordance with
          the approved budget as amended.

       4. Any proposed financial transaction between the Republican Party of Arkansas
          and any entity owned, operated, or represented by an elected officer of the Party,
          a member of the Executive Committee, Budget Committee or Audit Committee
          shall be approved by a majority vote of the Executive Committee before the
          transaction is consummated.


E. Financial Reporting:



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          1. The Executive Director shall submit to the Executive Committee and the Budget
             Committee a monthly report within 30 days following the monthly close of
             business comparing actual revenue and expenditures to budgeted revenue and
             expenditures by line item. The Executive Director shall prepare other written
             reports that the Executive Committee or the Budget Committee may require.

          2. Any member of the Executive Committee, the Budget Committee or the Audit
             Committee shall have full access to the financial records of the State Party during
             regular business hours. Documents and records may not be removed from the
             office(s) of the State Party or its designee with the exception that the Chairman of
             the Audit Committee may make copies of financial records for use by the Audit
             Committee.

          3. The Executive Committee shall cause to be prepared and filed all financial reports
             required by federal, state and local laws, including payroll tax returns, income tax
             returns and campaign finance disclosure reports and shall be responsible to
             assure the accuracy of such reports. The treasurer shall monitor and supervise
             the preparation of such reports and shall sign reports.

          4. Any State Committee Member may review regular quarterly and annual reports
             during regular business hours of the State Party office.

   F. General Financial Procedures

          1. Generally Accepted Accounting Principles (GMP) or cash basis shall be
             employed by the State Party in all daily accounting and bookkeeping functions.

          2. No one is empowered to incur indebtedness or financial obligation on the part of
             the Republican Party of Arkansas unless budgeted.

          3. The Executive Committee may employ a qualified accountant to assist the
             Executive Director in the preparation of budgets, financial reports and in
             maintaining all bank accounts of the State Party. The accountant shall assist the
             Treasurer in preparing all tax reports, campaign disclosure reports, FEC reports,
             and any other reports required by law. The accountant shall have formal training
             in FEC regulations, compliance procedures and reporting procedures.

Section 4 - Candidates for Public Office

   A. A candidate who possesses those qualifications required by the laws of Arkansas and the
      United States of America, shall affirm his or her concurrence with the principles and
      objectives of the Republican Party of Arkansas, and pay the prescribed filing fees.

   B. Candidates for Federal, State, and State District offices shall pay fees as required by the
      State Executive Committee, to the Republican Party of Arkansas as set forth in Article VI.



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C. When any unopposed candidate for any public office in a Republican Primary Election
   shall, after the time for filing has expired, die or resign his or her candidacy, the State
   Committee in the case of a state or district office, or the County Committee, in the case of
   a county or township office, may, upon ascertaining such vacancy and provided same
   does not occur later than thirty (30) days prior to the preferential primary election, permit
   other candidates to qualify, at such time in such manner as the appropriate committee
   may determine, and upon such notice as such committee shall direct, and any candidate
   so qualifying shall be deemed to have regularly qualified as a candidate.

D. Upon vacancy in nomination or office, the State Chairman shall give proper notification as
   to the method by which the vacancy shall be filled. If the Chairman's intent is to fill the
   vacancy by a convention of delegates, the State Committee shall be convened as a
   convention of delegates to fill all statewide races; in a Congressional District, the
   Congressional District Committee shall be convened as a convention of delegates; in a
   state legislative or county race, the committee(s) of the county or counties in which the
   vacancy occurs shall be convened as a convention of delegates.

E. When a Convention of Counties is called to fill a vacancy in nomination or office for a
   state legislative position whose district includes more than one county the following
   procedure shall apply:

       4. The State Chairman shall establish the date and location of the Convention
   of Counties and shall establish the number of delegates and alternates to
   assure that any county in the legislative district shall have no fewer than
   one delegate and one alternate.

      5. Delegates and alternates shall be apportioned to each county based on the
   percentage of registered voters in the legislative district.

       6. Delegates and alternates must be registered voters and reside within the
   legislative district.

       7. Credentials of each delegate and alternate to the Convention of Counties,
   with contact information, shall be filed with the Secretary of the State
   Committee no later than 7 days prior to the date of the convention.

      8. Delegates and alternates to the Convention of Counties from each affected
   county shall be selected by delegates from the respective reconvened
   County Conventions.

       9. All delegates or alternates to the Convention of Counties must present a
    photo identification to receive a ballot.

        10. The State Chairman shall appoint a Credentials Committee for the
    Convention of Counties with 3 or 5 members who do not reside in the
    legislative district.


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           11. The Convention of Counties shall be conducted in accordance with the
      latest version of Roberts Rules of Order. The State Chairman, or designate,
      will serve as Temporary Chairman.

   F. No candidate shall be deemed to have resigned his or her candidacy subsequent to the
      noon of the thirtieth (30th ) day prior to the primary election, and the names of all who
      remain candidates after that date, except in the case of death, shall be printed on the
      ballot in those races where there are two or more candidates.

Section 5 - Primary Elections

   A. The Republican Party in each county shall hold a primary election in every even-
      numbered year.

          1. Except for support of candidates in a presidential preferential primary, the State
             Chairman, National Committeeman, National Committeewoman, District
             Chairmen, County Chairmen, County Election Commissioners (per State Statute),
             State, District or County Committee or State Party employees shall not endorse or
             otherwise publicly show favoritism to one Republican candidate over another prior
             to the Republican nominee being elected. State Executive Committee and/or the
             respective County Committees, by a two-thirds (2/3) vote of the members present
             at any regular or duly announced special meeting may vote that a particular
             candidate is not recommended.

          2. If a person holding any of the above named Party positions should become a
             candidate in a contested Party Primary election, he or she shall within three (3)
             business days either resign the Party Office or withdraw from the candidacy.

          3. In accordance with State Law the State Committee, in the case of Federal, State
             and District candidates, and the County Committee, in the case of all other
             candidates, shall be responsible for determining the qualifications of candidates
             seeking nomination by the Republican Party, provide necessary applications for
             candidacy, accept and process the applications and determine the order of its
             ballot, in accordance with state law. They shall file all required certifications with
             the State or County Secretary, Secretary of the State, or their respective County
             Clerk in a timely fashion, in accordance with state law.

Section 6 - State Conventions

   A. The Republican Party of Arkansas shall hold a statewide convention each even-
      numbered year. The membership of the State Convention shall be composed of
      delegates or alternates from each of the seventy-five (75) counties based upon the
      following formula:

          1. Three (3) delegates from each county.



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       2. One (1) delegate for each one thousand (1,000) votes or majority fraction thereof
          cast for the Republican candidate for Governor in the immediately preceding
          gubernatorial election.

       3. One (1) delegate for each Republican holding countywide office.

       4. One (1) delegate for each Republican holding the office of Justice of the Peace.

       5. Each county shall be entitled to one (1) alternate delegate for each delegate. In
          the absence of any delegate, the roll of the alternates shall be called in the order
          in which the names are placed upon the roll of the convention.

B. The State Party shall notify each County Chairman and Secretary, at least sixty (60) days
   before the date of the County Convention, the number of delegates and alternates each
   county shall be allocated. Delegates and alternates to the State Convention shall be
   elected by the County Convention.

C. Ninety (90) days prior to the convening of the State Convention, the State Chairman
   shall, with the approval of the Executive Committee, name at least five (5) persons to
   each Standing Convention Committee, i.e., Arrangements, Temporary and Permanent
   Organizations, Credentials, Rules, Memorials, Platforms and Resolutions, and other
   convention committees deemed necessary.

D. Credentials of each delegate and alternate to the State Convention shall be filed with the
   Secretary of the State Committee at State Party Headquarters by the Chairman and the
   Secretary of the County Committee no later than ten (10) days after the County
   Convention. The Secretary of the State Committee shall then prepare the temporary roll
   of the delegates and alternates. Fifteen (15) days prior to the date of the State
   Convention a call, issued by the State Party, shall be provided in writing to all delegates
   and alternates for whom credentials were filed with the Secretary of the State Committee
   within ten (10) days following the County Convention.

E. All contests of election of delegates and alternates to the State Convention shall be heard
   by the Credentials Committee. Any delegate or alternate rejected by the Credentials
   Committee shall have the right of appeal to the floor. The Credentials Committee shall
   report its findings to the Convention. No delegate or alternate shall be entitled to vote,
   until such delegate or alternate has been placed on the temporary roll, or seated by the
   Convention. No delegate or alternate shall be permitted to vote upon his or her contest.

F. All proposed rule changes and/or proposed platform provisions shall be filed in writing
   with the appropriate committee at least 60 days prior to the date of the convention. Those
   proposed rule changes and/or proposed platform resolutions recommended for adoption
   at the State Convention shall be mailed or electronically transmitted by the appropriate
   committee chair to each County Chairman 30 days before the date of the convention. It
   shall be the responsibility of every County Chairman to inform delegates and alternates to
   the State Convention of the proposed rules changes and/or proposed platform


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         resolutions. Copies of proposed rules changes and/or proposed platform resolutions will
         not be mailed to delegates and alternates by the State Party.

   G. The convention shall first elect a Temporary Chairman and a Temporary Secretary, and
      after the report of the Credentials Committee and the hearing of any contests that may be
      brought before the convention, the convention shall then proceed to organize by the
      election of a Permanent Chairman and a Permanent Secretary. The convention shall
      proceed in the order of business prepared by the Convention Rules Committee.

   H. A majority of delegation in any five counties may request a roll call vote, on any issue,
      and in the event a roll call is taken, the counties shall be called in alphabetical order.

   I.    No person shall be permitted to speak more than once or longer than five (5) minutes on
         the same question, except by leave of the convention. The person making a motion shall
         be entitled to speak twice on the motion, initially upon making as well as closing the
         argument for the motion.

   J. Each delegate shall be entitled to one (1) vote that may be cast by an alternate in the
      absence of the delegate.

   K. In the absence of any delegate, a roll of alternates shall be called in the order in which
      the names were certified by the State Secretary from the respective County Conventions.

   L. A convention may, by majority vote, upon a motion duly made and seconded, recess,
      adjourn to a specified date, adjourn to a call by the chairman, or adjourn sine die. When a
      convention has adjourned sine die, it has no further authority.

Section 7 - Delegates to the National Convention

   A. The total number of delegates and alternates to the Republican National Convention shall
         be determined in accordance with the Rules of the Republican National Convention last
         held. The election of delegates and alternates to the next Republican National
         Convention shall be consistent with the rules adopted by the Republican Convention last
         held and certified as therein provided.

   B. Procedures for election of delegates or alternates shall be established by the State
      Committee in accordance with the applicable laws of the State of Arkansas and the rules
      of the Republican National Committee. On or before September 1 of the year before the
      year in which the National Convention is to be held, the State Committee shall adopt
      rules, procedures, policies, and instructive materials (prepared pursuant to rule number
      14(A) of R.N.C. rules) governing the selection of delegates and alternate delegates to the
      national convention to convene during the following year, and shall certify and file with
      the Secretary of the Republican National Committee true copies of the same and of all
      statutes governing the selection of such delegates and alternate delegates. Any
      subsequent amendments to or changes in such statutes, rules, procedures, policies, and
      materials shall be filed with Secretary of the Republican National Committee within
      twenty-one (21) days after the date of the amendment or change.

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   C. The Arkansas delegation shall elect a Chairman, Vice-Chairman, and a Secretary, and
      shall adhere to the instructions, if any, of the State Committee.

   D. In the absence of any alternate, the position shall be filled by a majority vote of the
      delegates present in caucus.

Section 8 - Parliamentary Procedures

Robert's Rules of Order Newly Revised (current edition) shall apply in all cases not specifically
covered by these rules, and in the event of a conflict between these rules and Robert's Rules of
Order, the former shall apply.

Section 9 - Proxies

An active member of any committee governed by these rules may issue a written proxy for any
meeting of the committee except for meetings of the Executive Committee. An inactive member
of a county committee may not issue a proxy. This proxy must be presented to the Secretary of
the committee by a qualified elector from the same county of residence as the person giving the
proxy. An original signature by the member issuing the proxy that is scanned or faxed is
recognized as a valid signature. No person shall present more than two (2) proxies. No person,
including persons holding proxies, may cast more than one vote on any issue or election.
Proxies may not be voted in the selection of delegates and alternates to the Republican National
Convention. At any meeting proxies shall be counted for quorum purposes.

Section 10 - Election of Presidential Electors

The Republican Party of Arkansas will elect a number of Electors for President and Vice
President of the United States of America equal to the number of United States Senators and
United States Representatives which represent the state in Congress as follows:

               At the Biennial Republican State Convention, the body will accept
               nominations from the floor and elect one Elector from each
               Congressional District, who is a qualified voter in and resident of
               that District, and a number of at-large Electors sufficient to bring
               the total number of Electors to that number required by law.

Each candidate for Elector must certify in writing to the Republican Party of Arkansas that he/she
will vote for the Republican candidate for President and Vice President of the United States of
America.

Section 11 - Electronic Meetings

The Executive Committee, standing committees and special committees are authorized to meet
by telephone conference or through other electronic communications media so long as all the
members may simultaneously communicate with each other and participate during the meeting.


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                     ARTICLE II - COUNTY COMMITTEE

Sections

   1. General Provisions
   2. Membership
   3. Organization
   4. Primaries
   5. Meetings
   6. Duties of County Officers
   7. Election of Officers
   8. Vacancies
   9. Removal
   10. County Committee Local Rules of the County Committee
   11. Rules Review

Section 1 - General Provisions

   A. The County Committee and the members thereof shall adhere with the Preamble of these
      Rules

   B. All provisions contained in Article I of these Rules apply the County Committee.

   C. All counties in Arkansas shall have the opportunity to have a Republican County
      Committee, hereby referred to as the "County Committee".

   D. The purpose of the County Committee is to assist in the election of qualified Republican
      candidates to public office and to fulfill the needs of the citizens of the State of Arkansas
      in a manner consistent with the beliefs and principles of The Republican Party.

   E. Any notices required by these rules to members of the County Committee may be
      transmitted by written email or other electronic means if the member has provided an
      email address or other appropriate electronic contact information for this purpose to the
      Secretary. All members who have not provided such information shall receive notices via
      U.S. Mail.

Section 2 - Membership

   A. Membership in the County Committee shall be open to all qualified electors, as defined in
      A.C.A. Section 7-1-101 (2016) Definitions (33), within that county. No oath or pledge shall
      ever be required as a condition.

   B. County Committee members shall be elected through the Republican Primary elections
      held in even numbered years. In accordance with Arkansas law 7-3-104, qualified
      electors may choose to file to appear on the ballot of a primary election for the purpose of
      joining a county committee.

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   C. Committee members shall be responsible for canvassing and organizing their respective
      precincts, appointing precinct captains, recruiting qualified Republican candidates, raising
      party funds, identifying qualified poll workers, assisting the officers of the County
      Committee, and supporting and working to elect Republican candidates.

   D. A County Committee shall be allowed one at-large member for every 50 votes cast, or
      major fraction thereof, in their county for the Republican nominee for Governor in the
      most recent gubernatorial election, plus one precinct member from each precinct in the
      respective county. The County Committee is encouraged to have a member from each
      precinct. Members of the Arkansas General Assembly, State Constitutional Officers, U.S.
      Senators and U.S. Representatives who are memers of a County Committee shall be ex-
      officio members of th County Committee.

   E. If a County Committee Member misses three or more regular consecutive meetings
      without sending a proxy, that member shall be deemed "inactive" and will not count
      against quorum while the member is inactive. The inactive member may not issue a
      proxy pursuant to Article 1 Section 9 and may not serve as a voting member of the
      County Executive Committee. The member will no longer be considered "inactive" and
      will be reinstated to active membership upon attending a second consecutive County
      Committee meeting. If a County Committee Member misses four or more regular
      consecutive meetings without sending a proxy, the inactive member status shall be
      referred to the County Executive Committee for recommendations to the County
      Committee for action up to and including removal from County Committee Membership.
      Recommendations from the County Executive Committee may be approved by two thirds
      (2/3) vote of the members present at a regular meeting of the County Committee.

   F. The final authority within the County shall be the Biennial County Convention and the
      Biennial State Convention. The County Convention is deemed to have delegated interim
      authority to the County Committee necessary to achieve the purpose and objectives of
      the County Committee and the Republican Party of Arkansas.

Section 3 - Organization

   A. County Convention:

          1. Delegates to the County Convention are those committee members elected in the
             Republican primary election held in even-numbered years pursuant to Article 11,
             Section 2(8). The number of delegate positions shall be on the same basis as
             members of the County Committee pursuant to Article 11, Section 2(D).

          2. Notice of the County Convention shall be sent to delegates by the Chairman at
             least two (2) weeks prior to the date of the convention.

          3. Vacancies existing or occurring in the delegations to the County Convention after
             the primary election or elections may be filled by the County Committee.



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      4. The State Committeeman and State Committeewoman shall be elected by the
         County Convention and ratified by the State Convention.

      5. Delegates and alternates to the State Convention shall be elected at the County
         Convention based upon the formula outlined in Article I Section 6.A.

      6. In the event the Chairman fails to act in compliance with Article II Section 3(A),
         the State Chairman of the Republican Party of Arkansas shall initiate action to
         assure compliance with those provisions.

B. County Committee:

      1. The County Committee shall be organized at the first meeting of the committee
         following the Biennial County Convention. The first County Committee meeting
         will begin immediately upon the adjournment of the Biennial County Convention.

      2. At the first meeting as described in Article 11, Section 3(8)1, the Committee shall
         elect a District Committeeman, District Committeewoman and members of the
         District Committee. District Committee membership shall be based on the
         formula of one (1) District Committee Member for each 2,000 votes, or major
         fraction thereof, cast for the Republican nominee for Governor in the county in the
         preceding gubernatorial general election

      3. The County Committee shall make every reasonable effort to accomplish the
         objectives of the Republican Party of Arkansas, maintain sufficient funds to
         conduct party activities, recruit and elect qualified Republican candidates, and
         conduct the affairs of the County Committee in such a manner as will result in
         respect by the electorate.

C. County Executive Committee:

      1. The Executive Committee shall consist of the Chairman, First Vice-Chairman,
         Second Vice-Chairman, Secretary, Treasurer, State Committeeman, State
         Committeewoman, and other members as determined by the County Committee
         or set forth in the County Committee local rules.

      2. The Executive Committee shall meet at such times as the Chairman or a majority
         of the members thereof may deem appropriate or necessary.

      3. At least one-half (1/2) of the members of the Executive Committee shall be
         required to constitute a quorum.

      4. Minutes of the meetings of the Executive Committee shall be recorded by the
         Secretary.

      5. The Executive Committee shall be responsible for the plans and operations of the
         County Committee; shall recruit qualified Republican candidates for the local

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         offices; and shall perform such other duties as the County Committee may
         delegate or as directed in the County Committee local rules.

D. Required Standing Committee(s)

      1. The Chairman shall appoint the membership of all Standing Committees,
         including the Chairman of each committee, with approval of the County
         Committee, within sixty (60) days following the election of Chairman.

      2. Finance Committee

             a. The Finance Committee shall consist of the County Chairman, Treasurer
                and additional County Committee members, appointed by the County
                Chairman and approved by the County Committee.

             b. The Finance Committee shall develop an annual budget for the activities
                and duties of the County Committee and shall be presented to and
                approved by the County Committee at a date determined by the Executive
                Committee, or as otherwise set forth in the County Committee local rules,
                which shall be no later than the end of the calendar year.

             c. Proposed expenditures, unless budgeted, shall require a two-thirds (2/3)
                vote of the members present at a meeting of the County Committee.
                Recommendations from the Finance Committee for unbudgeted
                expenditures shall be approved by a majority vote of the County
                Committee or as otherwise permitted by County Committee rules.

             d. The Finance Committee shall have the authority to adopt prudent and
                reasonable controls, policies and procedures for the establishment,
                approval, and expenditure of all special funds and bank accounts of the
                County Committee in compliance with applicable state and federal laws,
                these rules, and the County Committee local rules. All county funds shall
                be held in accounts that bear the County Committee name and signatories
                on the accounts shall be the County Chairman, or designate, and County
                Treasurer. These provisions extend to any account that bears the County
                Committee's federal ID number or requires that the County Committee
                assume any liability or fiduciary responsibility (hereinafter "bank
                accounts(s)". Use of a mechanical signature (digital, stamped, etc.) on any
                check, bank document, tax document or FEC report is prohibited.

             e. Any proposed financial transaction between the County Committee and
                any entity owned, operated, or represented by an officer of the Committee,
                a member of the Executive Committee, Finance Committee or Audit
                Committee must be approved by the County Committee before the
                transaction is consummated.

      3. Audit Committee

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             a. The Audit Committee shall consist of the second Vice-Chairman, who shall
                serve as Committee Chair, Secretary, one (1) member of the county
                committee who is appointed by the County Chairman.

             b. The financial books of the County Committee shall be closed at the end of
                December of even numbered years and reviewed within sixty (60) days
                following the election of County Committee Officers. The review shall be
                performed by a competent person approved by the Executive Committee.

             c. The Audit Committee shall establish an appropriate system of financial
                controls, monitor the effectiveness of such controls, conduct an audit,
                report to the Executive Committee the results of the audit and compliance
                with any policy and procedures established by this Committee. The Audit
                Committee shall report to the County Committee the actions of any officer,
                employee, or agent of the County Committee that, in its opinion, are in
                violation of these controls and practices, rules, local rules or the policies
                and procedures established by the committee.

             d. The committee shall also perform other duties as the County Committee or
                the Executive Committee may assign.




E. General Financial Procedures

      1. Generally Accepted Accounting Principles (GMP) or cash basis shall be
         employed in all accounting and bookkeeping functions.

      2. No one is empowered to incur indebtedness or financial obligation on the part of
         the County Committee unless budgeted and expressly authorized by the County
         Committee, and approved by the Executive Committee.

      3. The Executive Committee may employ a qualified accountant to assist the
         Treasurer in the preparation of budgets, financial reports and in maintaining all
         bank accounts of the County Committee, the campaign disclosure reports, and
         any other reports required by law. The accountant shall have formal training in
         compliance and reporting procedures.

      4. Any member of the Executive Committee, the Finance Committee, or the Audit
         Committee shall have full access to the financial records of the County Committee
         during regular business hours. Documents and records may not be removed from
         the office(s) of the County Committee or its designee with the exception that the
         Chairman of the Audit Committee may make copies of financial records for use by
         the Audit Committee.

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          5. Any County Committee Member may review the Treasurer's reports upon
             reasonable request to the Chairman and Treasurer or during a regular committee
             meeting.

Section 4 - Primaries

   A. The County Committee will set the filing fees pursuant to Article VI of these rules.

   B. With regard to the support of candidates in an election, the County Chairman and County
      Election Commissioners shall abide by the requirements in Article I Section 5(A)1.

   C. The County Committee shall not endorse or otherwise publicly show favoritism to one
      candidate over another in a contested Republican primary. The County Committee, by a
      two-thirds (2/3) vote of the membership at any regular or duly announced special
      meeting, may vote that a particular candidate is not a recommended candidate.

   D. The Chairman and Secretary are charged with the responsibility to provide candidates all
      necessary information about the filing process and receive and process the filing forms in
      accordance with state law. They are also charged with ensuring that the County
      Committee receives certificates of nomination from the county board of election
      commissioners for local candidates.

   E. Not earlier than forty five (45) days and not later than fourteen (14) days prior to the date
      of the preferential primary filing period, the Chairman shall cause to be published no less
      than once a week for two (2) consecutive weeks in a newspaper of general circulation
      within the county stating:

          1. Name and contact information for the Committee Secretary, and
          2. Day and hour of both the start and finish times of the filing period.

   F. All persons desiring to be Republican candidates for county public office, County
      Committee member and/or delegate to the County Convention shall deliver their filing
      fees and applicable forms to the Chairman or Secretary. If a candidate is unable to
      deliver the applicable forms and filing fees to the Chairman or Secretary, in person, the
      candidate may designate, in writing, a bearer who may submit the applicable forms and
      filing fees to the Chairman or Secretary. A designated bearer may submit the applicable
      forms and filing fees for a maximum of two candidates per filing period.

Section 5 - Meetings

   A. The County Committee shall hold a minimum of nine (9) meetings throughout each year
      at a regularly scheduled time and place as designated by the Chairman and approved by
      the majority of the County Committee.

   B. One-fourth ( 1/4) of the total number of active members of the County Committee shall
      constitute a quorum for regularly scheduled meetings. A quorum is required for the
      transaction of business requiring a vote of the members.

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   C. Special meetings may be called by a majority of the County Executive Committee or one-
      fourth (1/4) of the total number of active members of the committee, provided that in no
      instance shall any special meeting be called by less than five (5) members. Notice of the
      time, place, date and purpose shall be transmitted to each member of the committee at
      least ten (10) days in advance. One third (1/3) of the total number of active members of
      the committee shall constitute a quorum at all special meetings.

   D. No action shall be taken by the County Committee to adopt or amend County Committee
      local rules, elect any officers or assess filing fees unless the proposal shall have been set
      forth in the notice calling the meeting. The notice shall be sent to each member of the
      County Committee pursuant to Article II Section 1(E) at least (10) days before the
      meeting date. The notice shall include, at a minimum, the time and place of the meeting.

Section 6 - Duties of County Officers

   A. Chairman: The Chairman shall preside at all meetings of the County Committee and the
      County Executive Committee, shall coordinate the political activities of the county, shall
      assist Republican candidates in organizing, planning, and conducting their respective
      campaigns in the county, and shall perform other duties as assigned by the County
      Committee. The County Chairman shall appoint all chairpersons and members to serve
      on all standing and ad-hoc committees.

          1. A candidate in a contested Party Primary election is not eligible to be County
             Chairman. If the County Chairman should become a candidate in a contested
             Party Primary election, he or she shall resign the chairmanship or withdraw from
             the candidacy within three (3) business days of either of the following:

                  a. If filed a campaign financial statement report with the appropriate
                     jurisdiction; or
                  b. Filing for office.

          2. If the Party Primary is not contested when the Chairman enters the race per any
             of the two criteria above, the Chairman does not have to resign or withdraw from
             the candidacy until another candidate enters the race. Determination on when
             another candidate officially enters the race will use the same two criteria from this
             section.

   B. First Vice-Chairman: The First Vice-Chairman shall assume the duties of the Chairman in
      presiding over meetings in the absence of the Chairman, coordinate the activities of all
      the standing committees and any other such committees as the Chairman might
      establish, assist the Chairman in the selection of effective committee chairmen, assure
      that the committees are performing their activities, keep the Chairman informed on
      activities of the various committees, and shall perform other duties as assigned by the
      Committee.



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C. Second Vice-Chairman: The Second Vice-Chairman shall assume the duties of the
   Chairman in the absence of the Chairman and First Vice-Chairman. The Second Vice-
   Chairman shall, assist the Chairman in the selection of interested and qualified
   Republicans to fill vacant positions as officers and precinct committeemen assist the
   Chairman in assuring that the Rules of the Republican Party of Arkansas are observed,
   and shall perform other duties as assigned by the County Committee.

D. Secretary: The Secretary shall serve as the chief clerical officer of the County Committee
   and County Executive Committee. Other duties include maintaining mailing lists, sending
   notices of meetings, agendas for meetings, and recording minutes of the official
   meetings. The Secretary shall notify the State Party of the roll of delegates/alternates to
   the State Convention within ten (10) days following their election at the Biannual County
   Convention.

       1. Minutes of the immediate past meeting of the County Committee shall be read
          and approved at each meeting of the County Committee. Minutes of any
          committee meeting shall be available for viewing by any member of the County
          Committee at any regular meeting of the County Committee.

       2. The Secretary is also responsible for keeping a current roster of the County
          Committee's members of the District Committee, and to notify the Secretary of the
          State Committee, the District Chairman and the District Secretary within ten (10)
          days after their election to the District Committee.

E. Treasurer: The Treasurer shall receive and account for all funds paid into the county
   committee treasury, issue an official receipt to each contributor, keep a permanent record
   of all receipts and disbursements and report the financial condition to the Chairman and
   County Committee. The Treasurer shall serve as a member of the Finance Committee.

       1. The Treasurer shall submit to the Executive Committee, the Finance Committee
          and the County Committee a monthly report of actual revenue and expenditures
          by line item. The Treasurer shall prepare other written reports that the Executive
          Committee or the Finance Committee may require.

       2. The Treasurer shall cause to be prepared and filed all financial reports required
          by federal, state and local laws, including payroll tax returns, income tax returns
          and campaign finance disclosure reports and shall be responsible to assure the
          accuracy of such reports. The Treasurer shall monitor and supervise the
          preparation of such reports and shall sign reports as a duty of that position

F. District Committeeman/Committeewoman: The District Committeeman/Committeewoman
   and District Committee Members shall attend the District meetings and appropriate
   political functions, vote on party policy matters and election of District officers, reflecting
   the will and interest of the County Committee, and inform the County Committee on
   actions and decisions adopted by the District Committee.



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   G. State Committeeman/Committeewoman: The State Committeeman/Committeewoman
      shall attend State Committee meetings and appropriate political functions, vote on party
      policy matters and election of state officers, reflecting the will and interests of the County
      Committee, and inform the County Committee on actions and decisions adopted by the
      State Committee.

Section 7 - Election of Officers

   A. County Committees shall meet in January of odd numbered years to elect a Chairman,
      First Vice-Chairman, Second Vice-Chairman who must be of the opposite gender of the
      First Vice-Chairman, Secretary, Treasurer, Election Commissioners and such other
      offices as the county local rules specify. Inactive County Committee members may not be
      nominated/elected as an officer of the County Committee. The meeting at which County
      Committee Officers are elected may be a regular meeting or a special meeting, called by
      the Chairman, for the purpose of election of officers. Notice of the time, place and
      purpose of the regular or called special meeting shall be sent to each member of the
      Committee at least ten (10) days in advance of the meeting date. The Secretary shall
      certify the election of the Chairman and election of the Election Commissioner(s) to
      County Clerk within ten (10) days after the election and to the Secretary of the State
      Committee.

   B. Any officer of the County Committee shall not serve as a member of the County Board of
      Election Commissioners. Exceptions may be granted by the applicable District Chairman
      on a case-by-case basis after ensuring any county officer understands that Arkansas
      voting law prohibits an election commissioner from participating in any person's
      campaign listed on a county's ballot (AC.A. §7-4-109(C)(2)(A).

   C. If the Chairman dies, resigns, is removed, or otherwise vacates the position, the 1st Vice-
      Chairman shall serve as Chairman and 1st Vice-Chairman and assume the duties of both
      until a new Chairman is elected at a meeting of the County Committee held within 75
      days of the occurrence of the vacancy. Notice of the time, place and purpose of the
      meeting, called by the 1st Vice-Chairman, shall be sent to each member of the committee
      at least fourteen (14) days in advance of said meeting.

   D. If the 1st Vice-Chairman dies, resigns, is removed, or otherwise vacates the position, the
      Second Vice-Chairman shall serve as 1st Vice Chairman and 2nd Vice Chairman until that
      position is filled in the same manner as the filling of the vacancy of the county chairman
      position.

   E. Tenure in office - Chairman shall be limited to four (4) consecutive two (2) year terms.

Section 8 - Vacancies

   A. A vacancy in the membership of the County Committee shall be deemed to exist under
      any of the following:



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          1. When a member tenders his or her resignation in writing to either the Secretary or
             Chairman.

          2. When a member tenders his or her resignation orally before the County
             Committee.

          3. In the event of death of a member or permanent change of residence such that
             the member is no longer a qualified elector in the county.

          4. If the member is removed in accordance with the Rules of the Republican Party of
             Arkansas.

          5. If the election of a prospective member would not exceed the total numbers of
             members authorized for the County Committee.

   B. Nominations to fill vacancies in the County Committee may be made at any regular
      meeting and shall be voted on at the next regular County Committee meeting at which
      the nominee is present, unless the Committee takes action to defer to a later meeting due
      to incomplete membership information or forms.

   C. If a County Committee is at its maximum number of at-large members, a nominee may
      only fill the vacancy of a precinct committee position.

   D. Nominees must be presented in person to the members of the County Committee at the
      time of nomination and shall pay a fee equal to the filing fee. The filing fee may be
      prorated if a member is nominated twelve or more months following the date of the last
      biennial county convention.

   E. Nominees for membership on the County Committee must affirm their concurrence with
      the Party Objectives and Principles as stated in the "Preamble" to these Rules.

Section 9 - Removal

   A Charges for removal may be brought against any member of the County Committee, or
      against any person elected by the County Committee, by a majority vote of the executive
      committee or by no fewer than five active county committee members for any one of the
      following reasons:

          1. Failing to qualify as an elector.

          2. Willful violation of these rules or working against the interest of the Republican
             Party.

          3. Inactivity, neglect, or refusal to perform the duties of the office.

   B. An Election Commissioner may be removed, pursuant to this Section 9, for the reasons
      stated in Article II Section 9(A) or for failing to perform duties as specified in the State

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      Board of Election Commissioners (SBEC) Procedures Manual for County Boards of
      Election Commissioners, or being cited following a SBEC investigation for significant
      violations of Arkansas voting law.

   C. Charges against any member or officer, except the Chairman or County Election
      Commissioner, shall be made to the Chairman, who shall within ten (10) days appoint
      three (3) qualified County Committee members to serve on an Investigation Committee
      which will investigate the charges. Within ten (10) days following the appointment, the
      Investigation Committee shall furnish to the person charged a copy of all charges, setting
      a time and place for the person charged to be heard. Within 30 days of the appointment
      of the Investigation Committee, the Investigation Committee shall make a written report of
      its findings, including a recommendation, to the Executive Committee. Within 10 days
      after receiving the recommendation from the Investigative Committee, the Executive
      Committee, taking into consideration the recommendation of the Investigative Committee,
      will determine whether to remove the member and report such decision to the Secretary
      of the County Committee. In the event of removal, the Chairman shall notify the person
      removed in writing. An appeal of the Executive Committee's decision may be made by
      filing a written notice with the Secretary within thirty (30) days, upon receipt of which the
      Secretary shall place the matter on the agenda for the next meeting of the County
      Committee for final determination.

   D. A County Election Commissioner may be removed by the County Committee in a special
      meeting called by no less than one-third (1/3) of the active committee membership or a
      majority of the Executive Committee. In case a meeting is called for this purpose, the
      Election Commissioner shall be given at least ten (10) days written notice of the charges
      and the time and place of the meeting and shall be entitled to be heard. A County
      Election Commissioner may be removed by a majority vote of the County Committee at
      this special meeting.

   E. The Chairman may be removed by the County Committee in a special meeting called by
      no less than one-third (1/3) of the active committee membership. The Chairman shall be
      removed by a secret ballot vote of not less than two-thirds (2/3) of the membership
      present and voting of the county Committee. In case a meeting is called for this purpose,
      the Chairman shall be given at least ten (10) days written notice of the charges and the
      time and place of the meeting and shall be entitled to be heard.

   F. The Executive Committee of the Republican Party of Arkansas may remove a County
      Chairman pursuant to Article VII.

Section 10 - County Committee Local Rules of the County Committee

   A. No local rules shall be established by a County Committee, which are contrary to the
      rules of the Republican National Committee (RNC) or the Republican Party of Arkansas
      (RPA), laws of the State of Arkansas, or laws of the United States of America. Any
      existing rules or local rules of any County Committee which are in conflict with federal or
      state law, RNC Rules or RPA Rules shall be null and void.


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   B. County Committee local rules, which are in addition to these rules, are developed and
      approved by the Biennial County Convention.

          1. Local rules may be amended by a two thirds (2/3) vote of the members present at
             a regular meeting of the county committee, or by simple majority at a County
             Convention, provided that ten (10) days written notice shall have been given of
             any proposed amendment, and provided the amendment is not contrary to
             National or State Rules or Federal and State laws.

          2. Any local rule may be suspended during any meeting of the County Committee by
             a nine-tenths (9/10) vote of the members present.

          3. No more than 10 days after any change to the local rules, the Secretary shall
             forward to the Secretary of the State Committee and the Republican Party of
             Arkansas staff a copy of the current local rules of the County Committee.

          4. The local rules shall be made available to all members of the county committee,
             including new members at the time of joining the committee.

Section 11 - Rules Review

   A. Pursuant to Article VII, Section 1 of these Rules, County Committee Members may file a
      "Request for Review" with the State Chairman if there is evidence of failure within a
      County Committee to observe these rules and/or local rules of the County Committee. A
      "Request of Review" may be filed if signed by not less than one fifth (1/5) of the active
      membership of the County Committee, provided that in no instance shall a "Request for
      Review" be filed by less than five (5) members.

Note:
A County Chairman may submit a written "Request for Variance" from these Rules to the
Chairman, RPA Rules Committee. The "Request for Variance" will be considered by the Rules
Committee within 45 days from the receipt of the Request. The "Request for Variance" will be
acted upon unless the request would violate RPA Rules. Any approved "Request for Variance"
may apply to all County Committees with equal or fewer authorized members.




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        ARTICLE Ill - CONGRESSIONAL DISTRICT COMMITTEE

Sections

   1.   General Provisions
   2.   Membership
   3.   Meetings
   4.   Election of Officers
   5.   Minorities Representative
   6.   Vacancies
   7.   Removal
   8.   Request for Review

Section 1 - General Provisions

   A. The purpose of the Congressional District Committee is to:

           1. Recruit and elect a Republican Congressman

           2. Serve the counties and assist them to grow and develop and to assist them in the
              recruitment and election of qualified Republican Candidates

           3. Elect delegates and alternates to the Republican National Convention,

   B. The District Chairman shall coordinate party matters within the District and shall
      represent District interests on the State Executive Committee and the State Committee.

   C. The District Chairman shall be entitled to vote only in case of a tie.

   D. Members of the District Committee may not cast more than one (1) vote on any question
      before the District Committee even though he or she may hold more than one position
      entitling him/her to membership in the District Committee.

   E. Members of the District Committee who are also members of the State Committee may
      not vote in the District Committee election of Delegates/Alternates to the Republican
      National Convention.

Section 2 - Membership

   A. Each District Committee shall be composed of:

           1. Elected District Officers,

           2. The County Chairman of each county in the District,

           3. A District Committeeman and District Committeewoman from each county in the
              District,
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      4. Each elected Republican countywide official and Justice of the Peace from each
         county in the District

              a. Each countywide official and Justice of the Peace shall, at the time of filing
                 for public office, indicate in writing if he or she wishes to be a member of
                 the District Committee. Positions not claimed shall be filled at the
                 organizational meeting of the County Committee following the Biennial
                 County Convention.

       5. One District Committee member from each county for each 2,000 votes, or major
          fraction thereof, cast for the Republican nominee for governor in the last
          preceding gubernatorial general election,

       6. A Minority Representative elected, prior to the District election, by a Minority
          Caucus called by the District Chairman,

       7. The First Vice-Chairman of each College Republican Club at each College or
          University in the District in good standing with the AFCR,

       8. The First Vice-President of each Republican Women's Club in good standing with
          the AFRW and NFRW,

       9. The First Vice-Chairman of each Young Republican Club in the region in good
          standing with the AFYR.

B. The District Committeeman, the District Committeewoman, and District Committee
   Members from each county shall be elected at the organizational meeting of the County
   Committees following the biennial County Convention.

       1. District Committee members shall be elected by numbered positions.

       2. Newly elected District Committee Members shall begin their term at the first
          meeting of the District Committee following the biennial County Conventions.

       3. The Secretary of each County Committee shall certify the election of District
          Committee members to the Secretary of the State Committee and to the District
          Chairman and District Secretary within ten (10) days following the election.

       4. Within thirty (30) days after the gubernatorial general election results are certified,
          the State Chairman shall notify the County Chairman and the County Secretary
          for each county and the District Chairman and District Secretary of any
          adjustment to be made in the number of District Committee Members from each
          county. In the event of a reduction, those District Committee Members with the
          highest corresponding position numbers shall be declared to be removed from
          office. In the event of an increase, the respective County Committee shall, within
          60 days, elect District Committee Members to fill the new position(s).

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Section 3 - Meetings

   A. District Committees shall meet biennially, in odd numbered years, between February 15
      and March 15, for the purpose of election of District Officers, the District Representative
      to the State Executive Committee, the District Representative to the Appointee
      Recommendations Committee and four (4) Representatives (or Regional Chairmen) to
      the State Committee.

   B. Following the biennial organizational meeting, the District Committee shall meet semi-
      annually and at such times as the District Chairman or State Chairman may direct.

   C. The call for all District meetings shall be transmitted to each County Chairman and
      County Secretary thirty (30) days prior to the meeting date. The County Chairman shall
      communicate the call to the District Committee Members twenty (20) days in advance of
      the meeting date. The call for any meeting of the District Committee may be sent by
      facsimile, e-mail or other electronic means to members who provide prior written approval
      to receive meeting notices electronically. All members who have not provided such prior
      approval shall receive meeting notices by U.S. Mail.

   D. Minutes of all District Committee Meetings shall be filed with the Secretary of the State
      Committee within thirty (30) days after the meeting.

   E. One-third (1/3) of the total number of members of the committee shall constitute a
      quorum at all meetings of the District Committee.

   F. The State Chairman shall provide each District Chairman and District Secretary with a
      certified listing of District Committee Members within ninety (90) days following the
      biennial County Convention. The listing shall be revised following the General Election to
      reflect changes in Republican County Elected Officials and Republican Justices of the
      Peace for each county. The revised listing shall be provided no later than December 31
      of each even numbered year. Within fifteen (15) days following the biennial election of
      County Committee Officers, the listing shall be revised to reflect the newly elected
      Chairman of each County Committee and shall be furnished to each District Chairman
      and District Secretary no later than February 15 of each odd numbered year.

   G. A Credentials Committee consisting of three (3) voting members from 3 different counties
      within the district shall be appointed by the District Chairman no later than 21 days in
      advance of the District Meeting.

   H. An updated District Committee Membership List must be submitted to the District
      Secretary by each county no later than 10 days prior to the meeting. Only members on
      the updated list will be allowed to vote.

   I.    Special Meetings may be called by one-fourth (1/4) of the total number of members of the
         District Committee. Notice of the time, place, date and purpose thereof shall be


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       communicated to each member in accordance with the procedure outlined in section
       Article 111, 3(C).

   J. No action shall be taken by the District Committee on proposals to fill vacancies, adopt or
      amend rules or elect any officers unless the proposal shall have been set forth in the
      notice calling the meeting.

Section 4 - Election of Officers

   A. A person shall be a member in good standing of a County Committee within the District to
       qualify as a candidate for a District Officer.

   B. Between February 15 and March 15 of odd numbered years each Congressional District
      Committee shall meet to elect a Chairman, First Vice-Chairman and a Second Vice
      Chairman who shall be of the opposite gender, Secretary, Treasurer, the District
      Representative to the State Executive Committee, the District Representative to the
      Appointee Recommendations Committee and four (4) Representatives (or Regional
      Chairmen) to the State Committee. The District Representative elected to serve on the
      State Executive Committee shall be a County Chairman, a past County Chairman, or
      past District Chairman who shall not be a resident of the same county as the District
      Chairman. Each District Committee, by a vote of the members at a regular or special
      meeting, may choose to be represented on the State Committee by Regional Chairmen
      in that District, elected by region, or by four (4) District Representatives to the State
      Committee, elected by the District Committee Members. If the District Committee
      Members choose to elect four (4) Representatives to the State Committee, not more than
      one Representative may reside in the same county except that a Representative may be
      elected for each region within a county with more than one (1) region.

   C. The call for the meeting shall be transmitted to each County Chairman and County
      Secretary thirty (30) days prior to the meeting date. The County Chairman shall
      communicate the call to the District Committee Members within their county twenty (20)
      days in advance of the meeting date in accordance with the procedure outlined in Article
      Ill Section 3(C).

   D. The District Chairman shall call the meeting to order and direct the District Secretary to
      call the roll. Following a report from the credentials committee confirming the credentials
      of members the District Chairman shall call for the election of District Officers and
      Representatives.

           1. If the incumbent District Chairman will be a candidate for re-election the ranking
              District Officer, who will not be a candidate for District Chairman, shall conduct the
              election for District Chairman.

           2. The newly elected District Chairman shall conduct the election for all other District
              Officers and Representatives.



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   E. If the District Chairman dies, resigns, is removed or otherwise vacates the position, the
      First Vice-Chairman shall serve as both Chairman and First Vice-Chairman and assume
      the duties of both Chairman and First Vice-Chairman until a new Chairman is elected at a
      meeting of the Committee held within seventy-five (75) days of the occurrence of the
      vacancy.

   F. Notice of the time, place and purpose of the meeting, called by the First Vice Chairman
      shall be transmitted to each County Chairman and County Secretary thirty (30) days prior
      to the meeting date. The County Chairman shall communicate the call to the District
      Committee Members twenty (20) days in advance of the meeting date in accordance with
      the procedure outlined in Article Ill Section 3(C).

   G. If the First Vice-Chairman dies, resigns, is removed or otherwise vacates the position, the
      Second Vice-Chairman shall serve as First Vice-Chairman and assume the duties of both
      the First Vice-Chairman and the Second Vice-Chairman for the remainder of the term.

   H. Tenure in office - District Officers shall be limited to four (4) consecutive two (2) year
      terms.

Section 5 - Minorities Representative

A District Minorities Representative shall be elected, by majority vote, at a Minority Caucus
called by the District Chairman, to be held in conjunction with the District organizational meeting.
The District Minorities Representative shall represent the District on the State Committee.
Members of the Minority Caucus shall include minority members in good standing of any County
Committee within the District in attendance at the meeting of the Minority Caucus.


Section 6 - Vacancies

District Committee vacancies shall be filled by the body that originally elected the member.

Section 7 - Removal

   A. Charges for removal may be brought against any person elected by the District
      Committee for any one of the following reasons:

           1. Failing to qualify as an elector;

           2. Willful violation of these rules or working against the interest of the Republican
              Party;and

           3. Inactivity, neglect, or refusal to perform the duties of the office.

    B. Charges against any person elected by the District Committee, except the chairman,
       shall:


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          1. Be made in writing to the District Chairman, who shall within ten (10) days appoint
             three (3) qualified Republican electors within the district to investigate the
             charges, then

          2. Within ten (10) days following the appointment, the Investigation Committee shall
             make a written report of its findings to the District Chairman

          3. Who shall, in the event of removal, notify, in writing within five (5) days, the
             person removed.

   C. The Chairman's decision may be appealed by filing a written notice with the District
      Secretary within 30 days. Upon receipt of the written notice of appeal the Secretary shall
      place the matter on the agenda for the next meeting of the District Committee for the final
      determination.

   D. The District Chairman may be removed by the District Committee at a special meeting
      called for that purpose by written petition to the District Secretary by at least one-third
      (1/3) of the committee membership. The District Chairman shall be removed by a vote of
      not less than two-thirds (2/3) of the membership of the District Committee present and
      voting. One-third (1/3) of the total number of members of the committee shall constitute a
      quorum. The District Chairman shall be given at least ten (10) days written notice of the
      time and place of the meeting and shall be entitled to be heard by the District Committee.

Section 8 - Request for Review

   A. Pursuant to Article VII, Section 1 of these Rules, District Committee Members may file a
      "Request for Review" with the State Chairman if there is evidence of a failure within a
      District Committee to observe these rules and/or local rules of the District Committee. A
      "Request of Review" may be filed if signed by not less than one fifth (1/5) of the active
      membership of the District Committee, provided that in no instance shall a "Request for
      Review" be filed by less than five (5) members.




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                      ARTICLE IV - STATE COMMITTEE

Sections

   1. General Procedure
   2. Membership
   3. Standing Committees
   4. Meetings
   5. Order of Business
   6. Duties of State Officers
   7. National Committee Members
   8. Vacancies
   9. Removal
   10. Amendment of Suspension of Rules

Section 1 - General Procedures

   A. The State Chairman shall be entitled to vote only in case of a tie.

   B. No member of the State Committee may cast more than one vote on any question before
      the State Committee even though the member may hold more than one position entitling
      to membership on the State Committee.

Section 2 - Membership

   A. The Republican State Committee shall be composed of the following members:

           1. State Executive Officers
                   a. State Chairman
                   b. First Vice Chairman
                   c. Second Vice Chairman
                   d. National Committeeman
                   e. National Committeewoman
                   f. Secretary
                   g. Deputy Secretary
                   h. Treasurer
                   i. Deputy Treasurer
           2. Finance Chairman
           3. Rules Chairman
           4. General Counsel
           5. Deputy General Counsel
           6. Congressional District Officers
                   a. U.S. Congressional District Chairs
                    b. U.S. Congressional District Minority Representatives
                   c. U.S. Congressional District Regional Committee Chairs or District
                       Representatives
           7. County Officers
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                   a. County Chairmen
                   b. State Committeeman from each county
                   c. State Committeewoman from each county
          8. Allied Republican Organizations
                   a. Chairman of the Arkansas affiliate of the National Black Republican
                      Association
                   b. Chairman of the Arkansas affiliate of the Republican National Hispanic
                      Assembly
                   c. President of the Arkansas Federation of Republican Women
                   d. President of each Arkansas Republican Women's club in good standing
                      with the AFRW and NRFW
                   e. Chairman of the Arkansas Federation of Young Republicans
                   f. Chairman of each member club of the Arkansas Federation of Young
                      Republicans in good standing with the AFYR
                   g. Chairman of the College Republicans of Arkansas
                   h. Chairman of each College Republicans club organized at a college or
                      university in Arkansas in good standing with the AFCR
                   i. Chairman of the Teenage Republicans of Arkansas Chairman of each
                      Teenage Republicans of Arkansas club
          9. Elected Officials (ex-officio)
                   a. Any Republican elected and serving as a U.S. Senator or U.S.
                      Representative
                   b. Any Republican elected and serving as an Arkansas Constitutional
                      Officer
                   c. Former elected Republican Governor, U.S. Senator or U.S.
                      Representative
                   d. All Republicans presently serving as members of the Arkansas General
                      Assembly

   B. State Committeemen and State Committeewomen shall be elected by the County
      Conventions and ratified by the State Convention. Each State Committeeman and State
      Committeewoman shall serve until the next State Convention or until a successor is
      elected.

Section 3 - Standing Committees

   A. Platform & Resolutions - The State Chairman shall appoint a chairman and at least four
      (4) members.

   B. Rules - The State Chairman shall appoint a chairman and at least four (4) members.

   C. Campaign - The State Chairman shall appoint a chairman and at least four (4) members.

   D. Scholarship - The chairman shall appoint one (1) member from each Congressional
      District, one of which will be appointed to chair the Scholarship Committee. Additional
      members shall be 1) the President of the Arkansas Federation of Republican Women, 2)
      the Chairman of the Arkansas Federation of Young Republicans, 3) the Chairman of the

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      Arkansas Federation of College Republicans and 4) the Chairman of the African
      American Republican Caucus.

   E. The Appointee Recommendations Committee shall serve to recruit and evaluate qualified
      persons, giving preferred recommendation to loyal Republicans when submitting names
      for appointive positions to the Republican Governor and the Republican President.

          1. The Appointee Recommendations Committee shall be composed of seven (7)
             members, at least one of whom shall be a minority and at least one of whom shall
             be female. Each Congressional District Committee shall elect one member of the
             committee after which the State Chairman shall select three (3) members subject
             to the approval of the Executive Committee.

          2. Prior to recommending any applicant for appointment to any appointive position,
             the name of the applicant shall be submitted to the County Committee in which
             the applicant resides. The appropriate County Committee shall either approve and
             recommend, or disapprove and request a substitute recommendation. The
             Appointee Recommendations Committee may not recommend nor forward the
             name of the said applicant if not approved and recommended by the County
             Committee.

Section 4 - Meetings

   A. Meetings of the State Committee may be called by any one of the following:

          1. The State Chairman.

          2. The State Executive Committee.

          3. Written request of at least ten percent (10%) of the committee representing at
             least ten (10) counties, whereupon such notice shall be issued by the Secretary of
             the State Committee within ten (10) days after receipt. The notice shall call the
             meeting for a day no less than ten (10) days nor more than twenty (20) days after
             the date of mailing the notice.

   B. No action shall be taken by the State Committee on proposals to adopt resolutions, fill
      vacancies, adopt or amend rules, or elect officers, unless the proposal shall have been
      set forth in the written notice calling the meeting. The notice, and supplemental
      information, must be mailed, or electronically transmitted, at least ten (10) days before
      the meeting. All issues included in the written notice of the meeting must be submitted in
      writing to the RPA headquarters at least ten (10) days prior to the meeting notice mailing
      and therefore at least twenty (20) days prior to the actual meeting.

   C. At any meeting called in accordance with Article IV Section 3(A), one third (1/3) of the
      total membership shall constitute a quorum.

Section 5 - Order of Business

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The Order of Business for State Committee meetings shall be determined by the State Chairman
with reference required from the latest edition of Roberts' Rules of Order. Before any
adjournment of a State Committee meeting, the floor must be open for general inquiries and
discussion on matters of interest to the Republican Party of Arkansas by any State Committee
member.

Section 6 - Duties of Officers

   A. The State Chairman shall be the chief executive officer of the Republican Party of
      Arkansas; shall preside at all meetings of the State Committee and the State Executive
      Committee; shall coordinate the political activities of the party; shall assist Republican
      candidates for county, district, and state offices in organizing, planning and conducting
      their respective campaigns; shall designate party representative on any board,
      commission, or other body for which the selection is not otherwise specified by these
      rules; shall appoint such committees of the State Committee or Executive Committee as
      shall be necessary and shall perform such other duties as may be delegated from time to
      time between State Conventions by the State Committee or the State Executive
      Committee.
   B. The First Vice-Chairman shall perform the responsibilities delegated by the State
      Committee, the Executive Committee, or the Chairman. The First Vice-Chairman shall be
      a working, functioning, and participating officer, who shall be kept abreast of party
      activities statewide and shall be capable of assuming the responsibilities of the State
      Chairman at any time. The First Vice-Chairman shall preside at meetings of the State
      Committee and the State Executive Committee in the absence of the chairman.

   C. The Second Vice-Chairman shall be of the opposite gender of the First Vice-Chairman.
      The Second Vice-Chairman shall perform the same responsibilities as the First Vice-
      Chairman, and shall be capable of assuming the responsibilities of Chairman at any time.
      The Second Vice-Chairman shall preside at meetings of the State Committee and
      Executive Committee in the absence of the Chairman and the First Vice-Chairman.

   D. The Secretary shall be the chief clerical officer of the State Committee and the Executive
      Committee. The Secretary shall act as Secretary of each State Convention until a
      Secretary of the Convention has been chosen. The Secretary shall maintain an updated
      set of rules of the Republican Party of Arkansas and make available a copy to any party
      member requesting them.

   E. The Treasurer, as a member of the Budget Committee, shall participate in the
      preparation of the annual budget. The Treasurer, in concurrence with the State
      Chairman, shall be responsible for providing financial reports to the Executive Committee
      and the State Committee. The Treasurer shall assist the State Chairman in meeting
      governmental reporting requirements.

   F. The Chairman, First Vice-Chairman, Second Vice-Chairman, the Secretary, and the
      Treasurer, shall be elected by the State Committee at a meeting called by the Chairman
      between the general election and the end of the year, and shall hold office until their

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      successors are elected and qualified. Officers other than the Chairman shall be voting
      members of the State Committee, but shall not have two votes if they represent their
      county. Any person who wished to be a candidate for a State Party Office shall inform the
      Secretary of the State Party, in writing, of their intent to be a candidate no later than 20
      days prior to the date of the State Committee Meeting at which the election will be held. If
      no person issues a notification of intent for a specific office, nominations may be made
      from the floor for that office on the date of election of officers.

G. The Assistant Secretary, the Assistant Treasurer, the Finance Chairman, and General
   Counsel, shall be appointed by the Chairman, subject to the approval of the Executive
   Committee.

H. The State Chairman may serve as a volunteer or paid chairman. All candidates for State
   Chairman shall designate in writing any expectation of compensation detailing the
   amount and type of compensation expected. The statement of expected compensation
   shall be submitted to the Secretary of the State Committee twenty (20) days prior to the
   date of the State Committee Meeting at which the election of the State Chairman will be
   held. This information shall be included with the agenda for the State Committee Meeting
   at which the election of the State Chairman will be held. Should a candidate designating
   paid status be elected, the Executive Committee shall be empowered to establish the
   salary and conditions of employment for the term of office to which he or she was
   elected, not to exceed the maximum expected compensation submitted by the candidate.

I.    Any officer need not be a member of the State Committee at the time of their election or
      appointment. Only members of the State Committee of the RPA may offer nominations
      or seconds to nominations.

J. Tenure in office - The State Chairman, a member of the Republican National Committee,
   shall be limited to six (6) two (2) year terms. First Vice-Chairman, Second Vice-Chairman,
   Secretary and Treasurer shall be limited to four (4) consecutive two (2) year terms.

K. Serving dual roles as an elected official and RPA executive officer is discouraged such
   that:

          1. An elected official wishing to concurrently serve as RPA State Chairman or
             National Committeeman/woman must have their nomination for that position
             approved by a two-thirds (2/3) vote of the members of the State Committee before
             being allowed to enter a contested race for State Chairman or National
             Committeeman/woman.

         2. A candidate in a contested Party Primary election is not eligible to be State
            Chairman or National Committeeman/woman. If a person holding any of the 3
            positions should become a candidate in a contested Party Primary election, he or
            she shall resign from his or her position or withdraw from the candidacy within
            three (3) business days of the soonest of any of the following:



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                  a. Having filed a campaign financial statement report with the appropriate
                     jurisdiction; or
                  b. Filing for office.

          3. If the Party Primary is not contested when the Chairman or National
             Committeeman/woman enters the race per any of the two criteria above, he or
             she does not have to resign or withdraw from the candidacy until another
             candidate enters the race. Determination on when another candidate officially
             enters the race will use the same two criteria from this section.

Section 7 - National Committee Members

   A. The National Committeeman and the National Committeewoman shall be elected by the
      State Committee at the State Committee Meeting called to select delegates and
      alternates to the National Convention.

   B. Tenure in office-The National Committeeman and National Committee-woman shall be
      limited to three (3) consecutive four (4) year terms. A person serving a partial term shall
      not be prevented from serving three (3) additional four (4) year terms.

Section 8 - Vacancies

   A. Vacancies shall be filled by the same body responsible for the initial election of that
      member.

   B. Vacancies in the office of National Committeeman and National Committeewoman shall
      be filled by the State Committee.

   C. If the State Chairman dies, resigns, is removed, or otherwise vacates the position, the
      First Vice-Chairman shall serve as Chairman and First Vice-Chairman and assume the
      duties of both Chairman and First Vice-Chairman until a new Chairman is elected at a
      meeting of the Committee held within sixty (60) days of the occurrence of the vacancy.
      Written notice of the time, place and purpose of the meeting, called by the First Vice-
      Chairman, shall be mailed to each member of the Committee at least fourteen (14) days
      in advance of said meeting.

   D. In the event of the death, resignation, refusal, permanent absence from the state, or
      removal of the First Vice-Chair, the Second Vice-Chair shall serve as First Vice-Chairman
      and assume the duties of both First and Second Vice-Chair until an election is held at the
      next meeting of the State Committee to elect the First Vice-Chairman.

   E. The resignation of an Officer of the State Committee, including National Committeeman
      and National Committeewoman, shall be submitted, in writing, to the Secretary of the
      State Committee by electronic mail, facsimile or U.S. Mail. If no effective date of
      resignation is stated in the letter of resignation, the effective date shall be the date
      received by the Secretary of the State Committee.


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Section 9 - Removal

   A. Any person elected by the State Committee may be removed for:

          1. Failing to qualify as an elector;

          2. Willful violation of the party rules or working against the interests of the
             Republican Party; or

          3. Inactivity, neglect, or refusal to perform the duties of the office.

   B. Charges against any member or officer, except the Chairman, shall be made in writing to
      the State Chairman, who shall within ten (10) days, appoint three (3) qualified Republican
      electors within the state to investigate the charges. Within ten (10) days following
      appointment, the Investigation Committee shall complete their investigation and provide
      the person charged and the Executive Committee a copy of all charges and findings.
      The Executive Committee will set a reasonable time and place for the person charged to
      be heard and will make a determination on the charges for removal at a meeting no less
      than ten (10) days nor more than twenty (20) after receipt of the Investigation Committee
      findings.

   C. The Chairman may be removed by the State Committee at a meeting called for that
      purpose, by at least one-third (1/3) of the committee membership, by a vote of not less
      than two-thirds (2/3) of the membership present and voting. The State Chairman shall be
      given written notice by certified mail from the Republican Party of Arkansas at least ten
      (10) days prior to any vote by the Republican Party of Arkansas State Committee. The
      notice shall include the charges and the time and place of the meeting at which the vote
      is to occur. The State Chairman shall be entitled to be heard at that meeting.

Section 10 - Amendment or Suspension of Rules

   A. These rules may be amended by a two-thirds (2/3) vote of the members of the State
      Committee present and voting, provided that ten (10) days written notice shall be given
      on any proposed amendment.

   B. Any rule may be suspended during any meeting of the State Committee by a nine-tenths
      (9/10) vote of members present and voting.




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             ARTICLE V - STATE EXECUTIVE COMMITTEE

Sections

   1.   General Procedure
   2.   Membership
   3.   Meetings
   4.   Order of Business
   5.   Duties of Executive Committee
   6.   Vacancies
   7.   Removal

Section 1 - General Procedure

   A The Chairman shall be entitled to vote only in case of a tie.

   B. No member of the State Executive Committee may cast more than one vote on any
      question before the State Executive Committee even though he or she may hold more
      than one position entitling him or her to membership on the State Executive Committee.

   C. No member of the State Executive Committee may hold more than one position entitling
      membership on the State Executive Committee except on a temporary basis per the
      procedure for the election of the State Chairman (Article IV, Section 8(C)) or First Vice-
      Chairman (Article IV, Section 6(8)).

Section 2 - Membership

The Executive Committee shall be composed of:

   1. State Chairman

   2. First Vice-Chairman

   3. Second Vice-Chairman

   4. Secretary

   5. Deputy Secretary - will serve on the committee as a voting member in the absence of the
      Secretary.

   6. Treasurer

   7. Deputy Treasurer - will serve on the committee as a voting member in the absence of the
      Treasurer.

   8. National Committeeman

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   9. National Committeewoman

   10. General Counsel

   11. Finance Chairman

   12. Rules Chairman

   13. The Republican Leader of the Arkansas Senate. (ex-officio).

   14. The Republican Leader of the House of Representatives. (ex-officio).

   15. The President of the Arkansas Federation of Republican Women.

   16. The Chairman of the College Republicans of Arkansas.

   17. The Chairman of the Arkansas affiliate of the National Black Republican Association

   18. The Chairman and District Representative of each Congressional District Committee.

   19. Republican members of the U.S. Senate or U.S. House of Representatives (ex-officio).

   20. Any Republican elected and serving as a State Constitutional Officer (ex-officio).

   21. The president of the Arkansas Republican County Chairman's Association.

   22. The Deputy General Counsel will serve on the Committee as a voting member in the
       absence of the General Counsel.

   23. The Chairman of the Arkansas affiliate of the Republican National Hispanic Assembly.

   24. The Chairman of the Arkansas Federation of Young Republicans.

Section 3 - Meetings

   A. The State Executive Committee shall meet bimonthly and at such times as the Chairman
      or a majority of the regular (not ex-officio) members may determine necessary.

          1. A notice of ten ( 10) days shall be given for regular meetings. Regular meeting
             notices, and supplemental information, may be mailed or electronically submitted.
             For special meetings, a notice of three (3) days shall be given with confirmation
             that notice was received by three-fourths (3/4) of the regular members, either by
             telephone, fax or email.

          2. An agenda shall be furnished with the notice for regular and special meetings.

   B. The Executive Committee shall, between meetings of the State Committee:

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          1. Exercise all the powers of the State Committee except election of State
             Committee Members, election or removal of State Party Officers, adoption of the
             annual budget or other action specifically required by law or these rules to be
             exercised by a vote of the entire State Committee.

          2. The Executive Committee shall carry out the policies and implement the budget
             as established by the State Committee.

   C. Quorum - One half (1/2) of the total regular membership, shall constitute a quorum. Ex-
      officio members shall not be counted for purposes of determining a quorum at any
      meeting of the Executive Committee.



Section 4 - Order of Business

   A. The order of business in all committee meetings shall generally proceed as follows:

          1. Roll call of members

          2. Reading, correcting, and approval of minutes.

          3. Report of committees.

          4. Financial matters.

          5. Inquiries on all matters of interest to the Republican Party.

          6. Unfinished business.

          7. New business.

          8. General discussion.

          9. Adjournment

   B. No action shall be taken by the State Executive Committee on proposals to fill Vacancies,
      assess filing fees or approve appointment of officers unless the proposal shall have been
      set forth in the written notice calling the meeting.

Section 5 - Duties of the Executive Committee

   A. The State Executive Committees shall be the planning and operations committee of the
      Republican Party of Arkansas, shall observe and enforce these rules and regulations of
      the State Committee; shall designate the time and place of the Republican State
      Convention following the biennial general primary; shall organize, plan, and coordinate a

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       continuous public relations program for the party; shall evaluate and recruit qualified
       Republican candidates; and shall perform such other duties as the State Committee may
       delegate.

   B. The Executive Committee shall be responsible for hiring and firing of all State Party
      employees, developing and maintaining job descriptions and setting compensation for all
      State Party employees.

   C. Minutes of Executive Committee meetings will be made available to all County Chairmen
      and County Secretaries after approval of the minutes.

Section 6 - Vacancies

Vacancies shall be filled by the same body responsible for the initial election of that member.

Section 7 - Removal

Grounds and procedure for removal in all cases shall be in accordance with Article IV, Section 9.




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                            ARTICLE VI - FILING FEES

Sections

   1. Federal, State and District offices
   2. County offices

Section 1 - Federal, State and District offices

   A. The State Executive Committee shall set the filing fees for Republican candidates for
      Federal, State and District offices.

   B. Any such action shall be taken no later than sixty (60) days prior to the preferential
      primary election filing period, and the Secretary of the State Committee shall notify the
      Chairman and the Secretary of each County Committee of the action of the State
      Executive Committee.

   C. If the State Executive Committee fails to set filing fees for federal, state, and district
      offices within the time period specified, the filing fees established for the previous
      preferential primary election shall apply.

Section 2 - County offices

   A. The State Executive Committee may, at its discretion, set maximum filing fees which can
      be required by County Committees for all other public and party offices.

           1. The State Executive Committee may take into consideration local conditions and
              circumstances and is not required to set the same maximum fee for any particular
              office in one county as it may for the same office in another county.

           2. Any such action shall be taken no later than forty-five (45) days prior to the
              preferential primary election filing period, and the Secretary of the State
              Committee shall notify the Chairman and the Secretary of each County
              Committee of the action of the State Executive Committee.

           3. In the event the State Executive Committee fails to set maximum filing fees
              required by County Committees for all other public and party offices within the
              time period specified, the maximum filing fees established for the previous
              preferential primary election shall apply.

   B. The County Committee for each County shall set the filing fees to be required of
      Republican candidates for county, township and municipal offices and for County
      Committeeman subject to any maximum amounts the State Executive Committee may
      have set.




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    1. These fees are to be set no earlier than ninety (90) days prior to the preferential
       primary election filing period and not later than sixty (60) days prior to the
       preferential primary election filing period.

    2. The County Secretary shall promptly advise the Chairman and Secretary of the
       State Republican Party of each action.

    3. In the event the County Committee fails to set filing fees within the timeframe
       specified, the County filing fees established or in effect for the previous election
       shall apply.




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                          ARTICLE VII - Rules Review

Section 1 - Request for Review

   A. Members of a County or District Committee may file a "Request for Review" with the
      State Chairman if there is evidence of a failure, within the County or District Committee,
      to observe these rules and/or local rules of the County or District Committee. A "Request
      for Review" may be filed if signed by not less than one-fifth (1/5) of the active
      membership of the County or District Committee, provided that in no instance shall a
      "Request for Review" be filed by less than five (5) members.

   B. The "Request for Review" shall be filed, in writing, with the State Party Chairman by U.S.
      Mail or email. The State Party Chairman shall appoint a Review Committee within 15
      days of receipt of the "Request for Review" to include the following:

          1. The District Chairman for the district in which the County from which the request
             was received is located. The District Chairman shall serve as Chairman of the
             Review Committee. If the request comes from a District Committee, the State
             Chairman shall appoint another District Chairman to serve in this capacity.

          2. The District Representative to the State Executive Committee representing the
             district in which the County from which the request was received is located. If the
             request comes from a District Committee, the State Chairman shall appoint
             another District Representative to serve in this capacity.

          3. At least one other member of the State Executive Committee.

          4. Chairman of the State Party Rules Committee

          5. One County Chairman from a County outside the District from which the request
             was received appointed by the State Chairman.

          6. A Republican Party of Arkansas staff member as appointed by the State
             Chairman shall serve as the non-voting secretary of the Review Committee.

   C. The Review Committee shall investigate the matter referred, review appropriate
      documents, receive and review written representations from the parties involved in the
      dispute. The Review Committee shall hold hearings with members of the County or
      District Committee, if it deems necessary, within thirty (30) days of the appointment of the
      Review Committee. Any hearing should be held at the regular meeting place of the
      County Committee or at a convenient meeting place within the county at a time that
      would permit interested parties to attend. For a request from a District Committee the
      hearing should be held at the State Party headquarters.

   D. The Review Committee shall make a written report to members of the State Executive
      Committee, with findings and recommendations, within twenty (20)days after the date of
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      the hearing with members of the County or District Committee or within forty-five (45)
      days after the date of the appointment of the Review Committee if no hearing is held.

   E. At the next meeting of the State Executive Committee, following receipt of the Review
      Committee Report, and with no less than ten (10) days notice being provided to the
      interested parties, the Chairman of the Review Committee shall make a verbal report to
      the State Executive Committee. A representative from each side of the issue(s)
      considered by the Review Committee will be permitted to make a five (5) minute
      presentation to the State Executive Committee. Representatives may provide a written
      summary prior to the convening of the State Executive Committee Meeting.

   F. The State Executive Committee shall consider all reports and presentations and take
      appropriate action upon a majority vote. The decision of the State Executive Committee
      may include, but is not limited to, the removal of a County or District Chairman, the
      removal of a County Committee Member, the loss of County Committee votes on the
      District or State Committee or at the State Convention, or the declared vacancy of a
      County Committee.

Section 2 -State Prerogative

   A. If the State Chairman becomes aware that any portion of these Rules are not being
      followed by a County Committee, District Committee, or any member, and appropriate
      steps are not taken to correct the issue, the State Chairman will perform the following:

          a. The State Chairman will first contact by phone the applicable member. If a
             committee is the applicable party the State Chairman will contact that committee's
             chairman. The State Chairman will identify the issue, make clear the Rules of the
             Republican Party of Arkansas, and request that the rules be followed.

          b. If within 30 days the issue has not been resolved to the satisfaction of the State
             Chairman the State Chairman will issue a written warning to the person, or the
             chairman for a committee, being accused. The letter will identify rules that have
             been broken, the steps to resolve the issue, and the process as outlined in Article
             VII Section 1.

          c.   If within 30 days of the written warning the issue has not been resolved to the
               satisfaction of the State Chairman, the State Chairman or the State Executive
               Committee will move forward with a Rules Review as laid out in Article VII,
               Section 1.




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